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                                                           FILED: August 14, 2018


                    UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT


                              ___________________

                                   No. 18-1466
                               (3:17-cv-00429-JAG)
                              ___________________

MONIQUE R. SMALL DREW

             Plaintiff - Appellant

v.

VIRGINIA COMMONWEALTH UNIVERSITY, PARKING AND
TRANSPORTATION

             Defendant - Appellee

                              ___________________

                                 MANDATE
                              ___________________

      The judgment of this court, entered July 23, 2018, takes effect today.

      This constitutes the formal mandate of this court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.


                                                        /s/Patricia S. Connor, Clerk
